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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.
                                         Crim. No. 18-cr-32 (DLF)
INTERNET RESEARCH AGENCY, ET AL.,

            Defendants.




   GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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                                       INTRODUCTION

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

submits this opposition to the motion to dismiss the Indictment (Doc. 36) filed by defendant

Concord Consulting and Management, LLC (“Concord”). The motion should be denied.

       Concord asserts that the Indictment should be dismissed because, in its view, the Acting

Attorney General’s appointment of the Special Counsel violates the Constitution’s Appointments

Clause, U.S. Const. Art. II, § 2, cl. 2. Concord also contends that the Department of Justice’s

Special Counsel regulations, 28 C.F.R. Part 600, are unlawful, and the Special Counsel’s existence

accordingly violates the separation of powers. Finally, Concord asserts that the order appointing

the Special Counsel violates the regulations and does not authorize this prosecution. Those

arguments lack merit. The Appointments Clause permits Congress to vest the appointment of

“inferior Officers” in the “Head[] of [a] Department.” U.S. Const. Art. II, § 2, cl. 2. The Special

Counsel was properly appointed pursuant to statutory authority vested in the Acting Attorney

General. Because the Special Counsel is an “inferior Officer” rather than a principal officer, id.,

the Special Counsel’s appointment is constitutionally valid.        Further, the Special Counsel

regulations are binding and valid, and no separation of powers concerns are implicated here.

Finally, Concord cannot base any legal challenge on the Department’s regulations or the scope of

the order, and in any event, the prosecution in this case falls squarely within the scope of Special

Counsel’s authority to investigate the Russian government’s interference in the 2016 presidential

election and to prosecute federal crimes arising from the investigation. Because the Special

Counsel has constitutional and statutory authority to conduct this prosecution, Concord’s motion

to dismiss the Indictment should be denied.




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                                          STATEMENT

       A.      The Statutory And Regulatory Framework

       The Attorney General is the head of the Department of Justice (“DOJ”) and has exclusive

authority (except as otherwise provided by law) to direct “the conduct [of] litigation” on behalf of

the United States. 28 U.S.C. §§ 503, 516. Congress has “vested” in the Attorney General virtually

“[a]ll functions of other officers of the Department of Justice” (28 U.S.C. § 509), and empowered

him to authorize other DOJ officials to perform his functions (28 U.S.C. § 510). Congress has also

authorized the Attorney General to commission attorneys “specially retained under authority of

the Department of Justice” as “special assistant to the Attorney General or special attorney” and

provided that “any attorney specially appointed by the Attorney General under law, may, when

specifically directed by the Attorney General, conduct any kind of legal proceeding, civil or

criminal * * * which United States attorneys are authorized by law to conduct.” 28 U.S.C.

§ 515(a) and (b). Congress has also provided for the Attorney General to “appoint officials * * *

to detect and prosecute crimes against the United States.” 28 U.S.C. § 533(1). These statutes have

authorized Attorneys General to appoint special counsels and define their duties. See, e.g., United

States v. Nixon, 418 U.S. 683, 694 (1974).

       The Attorney General has promulgated regulations to provide an internal framework for

certain special-counsel appointments. 28 C.F.R. §§ 600.1-600.10; see also 5 U.S.C. § 301

(authorizing the head of a department to issue regulations “for the government of his department”

and “the distribution and performance of its business”); Office of Special Counsel, 64 Fed. Reg.

37,038 (July 9, 1999). The Special Counsel regulations “replace[d],” id., the independent counsel

regime formerly provided in Title IV of the Ethics in Government Act, 28 U.S.C. §§ 591-599

(expired); see Morrison v. Olson, 487 U.S. 654 (1988). The Independent Counsel Act had required

the Attorney General in certain cases to ask a court to appoint independent counsels, who then


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operated with significant statutory freedom from DOJ supervision.            The Special Counsel

regulations, in contrast, provide for a wholly Executive Branch procedure for appointing a Special

Counsel, and that official exercises discretion “within the context of established procedures of the

Department,” with “ultimate responsibility for the matter and how it is handled * * * continu[ing]

to rest with the Attorney General.” 64 Fed. Reg. at 37,038. The regulations seek “to strike a

balance between independence and accountability in certain sensitive investigations.” Id.

       Under the regulations, a Special Counsel may be appointed when either a conflict of

interest or “other extraordinary circumstances” makes it “in the public interest” to have a Special

Counsel assume responsibility for criminal investigation of a person or matter. 28 C.F.R. § 600.1.

A Special Counsel “will be provided with a specific factual statement of the matter to be

investigated.” Id. § 600.4(a). If the Special Counsel concludes that additional jurisdiction is

necessary, he is required to consult with the Attorney General, with the Attorney General

“determin[ing] whether to include the additional matters within the Special Counsel’s jurisdiction

or assign them elsewhere.” Id. § 600.4(b).

       The Special Counsel “shall notify the Attorney General of events in the course of his or her

investigation in conformity with the Departmental guidelines with respect to Urgent Reports” (28

C.F.R. § 600.8(b)); see also United States Attorneys’ Manual (USAM) § 1-13.100 (requiring

“Urgent Reports” to Department leadership on “major developments in significant investigations

and   litigation”),   available   at   https://www.justice.gov/usam/usam-1-13000-urgent-reports.

Because Urgent Reports generally must be submitted in advance of a major development such as

the filing of criminal charges (id. § 1-13.120), the notification requirement guarantees a “resulting

opportunity for consultation” between the Attorney General and the Special Counsel about the




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anticipated action, which “is a critical part of the mechanism through which the Attorney General

can discharge his or her responsibilities with respect to the investigation.” 64 Fed. Reg. at 37,040.

       The Attorney General may ask for “an explanation for any investigative or prosecutorial

step” (28 C.F.R. § 600.7(b)) and, if it is sufficiently “inappropriate or unwarranted under

established Departmental practices,” the Attorney General may determine that “it should not be

pursued” (id.). “In conducting that review, the Attorney General will give great weight to,” but is

not bound by, “the views of the Special Counsel.” Id. On the conclusion of the investigation, the

Attorney General is to report to the Chairman and ranking minority member of the House and

Senate Judiciary Committee if any such instances occurred. Id. § 600.9(a)(3).

       The Attorney General establishes the Special Counsel’s budget. 28 C.F.R. § 600.8(a)(1).

Ninety days before the end of each fiscal year, the Special Counsel must report on the status of the

investigation and submit a budget request. “The Attorney General shall determine whether the

investigation should continue and, if so, establish the budget for the next year.” Id. § 600.8(a)(2).

       The Special Counsel must “comply with the rules, regulations, procedures, practices and

policies of the Department of Justice,” and he “shall consult with appropriate offices” about the

Department’s “established practices, policies and procedures.” 28 C.F.R. § 600.7(a). The Special

Counsel is subject to disciplinary action under the same standards as other Department officials.

Id. § 600.7(c). By personal action of the Attorney General, the Special Counsel may be removed

for “misconduct, dereliction of duty, incapacity, conflict of interest, or for other good cause,

including violation of Departmental policies.” Id. § 600.7(d).

       The Special Counsel regulations, although binding on the Department of Justice while in

force, Nixon, 418 U.S. at 695, are not the source of authority for appointing a Special Counsel.

Rather, Attorneys General have often drawn on their statutory authority to appoint officers as




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special counsels, without relying on any regulations. See Jack Maskell, Cong. Research Serv.,

Independent Counsels, Special Prosecutors, Special Counsels, and the Role of Congress Summary

(2013). When the regulations are applied to a particular appointment, they provide internal

procedures, not externally enforceable rights. 28 C.F.R. § 600.10.

       B.     The Appointment And Jurisdiction Of The Special Counsel

       On March 20, 2017, then-FBI Director James B. Comey testified before the House

Permanent Select Committee on Intelligence about the FBI’s investigation into Russian

interference with the 2016 presidential election. In open session, Comey stated:

       I have been authorized by the Department of Justice to confirm that the FBI, as part of our
       counterintelligence mission, is investigating the Russian government’s efforts to interfere
       in the 2016 presidential election, and that includes investigating the nature of any links
       between individuals associated with the Trump campaign and the Russian government and
       whether there was any coordination between the campaign and Russia’s efforts.

Statement of FBI Director James B. Comey, H. Perm. Select Comm. on Intelligence, Hearing on

Russian Active Measures Investigation (Mar. 20, 2017) (“Comey Testimony”), available at

https://www.fbi.gov/news/testimony/hpsci-hearing-titled-russian-active-measures-investigation.

Comey added that “[a]s with any counterintelligence investigation, this will also include an

assessment of whether any crimes were committed.” Id.

       On May 17, 2017, Acting Attorney General Rod J. Rosenstein issued an order appointing

Robert S. Mueller, III, as Special Counsel “to investigate Russian interference with the 2016

presidential election and related matters.” Office of the Deputy Att’y Gen., Order No. 3915-2017,

Appointment of Special Counsel to Investigate Russian Interference with the 2016 Presidential

Election and Related Matters, May 17, 2017 (“Appointment Order”) (capitalization omitted),




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available at https://www.justice.gov/opa/press-release/file/967231/download. 1 Relying on “the

authority vested” in the Acting Attorney General, “including 28 U.S.C. §§ 509, 510, and 515,” the

Acting Attorney General ordered the appointment of a Special Counsel “in order to discharge [the

Acting Attorney General’s] responsibility to provide supervision and management of the

Department of Justice, and to ensure a full and thorough investigation of the Russian government’s

efforts to interfere in the 2016 presidential election.” Id. (introduction). “Considering the unique

circumstances of this matter,” the Acting Attorney General determined that “a Special Counsel is

necessary in order for the American people to have full confidence in the outcome.” Press Release,

Appointment of Special Counsel (May 17, 2017), available at https://www.justice.gov/opa/pr/

appointment-special-counsel.

       “The Special Counsel,” the Order stated, “is authorized to conduct the investigation

confirmed by then-FBI Director James B. Comey in testimony before the House Permanent Select

Committee on Intelligence on March 20, 2017,” including:

       (i)     any links and/or coordination between the Russian government and individuals
               associated with the campaign of President Donald Trump; and

       (ii)    any matters that arose or may arise directly from the investigation; and

       (iii)   any other matters within the scope of 28 C.F.R. § 600.4(a). 2
       1
         Deputy Attorney General Rosenstein was and is serving as Acting Attorney General for
the Russia investigation because, on March 2, 2017, the Attorney General recused himself “from
any existing or future investigations of any matters related in any way to the campaigns for
President of the United States.” Press Release, Attorney General Sessions Statement on Recusal
(Mar. 2, 2017), available at https://www.justice.gov/opa/pr/attorney-general-sessions-statement-
recusal. As the Attorney General noted, id., the Deputy Attorney General in those circumstances
exercises the authority of the Attorney General. See 28 U.S.C. § 508; see also 28 C.F.R. § 0.15(a).
       2
          Section 600.4 affords the Special Counsel “the authority to investigate and prosecute
federal crimes committed in the course of, and with intent to interfere with, the Special Counsel’s
investigation, such as perjury, obstruction of justice, destruction of evidence, and intimidation of
witnesses.” 28 C.F.R. § 600.4(a). The authority to prosecute “any matters that arose * * * from
the investigation,” Appointment Order ¶ (b)(ii), covers similar crimes that may have occurred
during the course of the FBI’s confirmed investigation before the Special Counsel’s appointment.


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Appointment Order ¶ (b). “If the Special Counsel believes it is necessary and appropriate,” the

Order provided, “the Special Counsel is authorized to prosecute federal crimes arising from the

investigation of these matters.” Id. ¶ (c). Finally, the Acting Attorney General made applicable

“Sections 600.4 through 600.10 of Title 28 of the Code of Federal Regulations.” Id. ¶ (d).

       The Acting Attorney General has conducted ongoing supervision of the Special Counsel’s

investigation in accordance with the regulatory framework. See Testimony of Deputy Attorney

General Rod J. Rosenstein, H. Comm. on the Judic., Hearing on the Justice Department’s

Investigation of Russia’s Interference in the 2016 Presidential Election, at 29 (Dec. 13, 2017). To

the extent that the Special Counsel has uncovered evidence of other crimes beyond the original

scope, the decision on how to allocate responsibility for further investigation has been “worked

out with[in] the [D]epartment.” Id. at 40. The Acting Attorney General has confirmed that he is

“accountable” and “responsible for” the scope of the Special Counsel’s investigation, and

“know[s] what [the Special Counsel] is investigating.” Id. at 30-31. Specifically, the Acting

Attorney General has testified that he is “properly exercising [his] oversight responsibilities,” with

the resulting assurance “that the [S]pecial [C]ounsel is conducting himself consistently with [the

Acting Attorney General’s] understanding about the scope of his investigation.” Id. at 28. “If [the

Acting Attorney General] believed that the Special Counsel “was doing something inappropriate,”

the Acting Attorney General “would take action.” Id. at 33.

       C.      The Indictment Of Concord For Conspiracy To Defraud

       On February 16, 2018, a grand jury returned an eight-count Indictment against thirteen

individual and three corporate defendants alleging that they engaged in a multi-year conspiracy,

operating out of Russia, to defraud the United States by impairing, obstructing, and defeating the

lawful functions of the government, through fraud and deceit, for the purpose of interfering with




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the U.S. political and electoral processes, including the presidential election of 2016. Doc. 1,

¶¶ 1-7. The conspiracy included, according to the Indictment, a Russian organization that

conducted what it called “information warfare” against the United States to spread “distrust

towards the candidates” in the 2016 election “and the political system in general.” Id. ¶ 10.

       The Indictment alleges that, “[i]n order to carry out their activities to interfere in U.S.

political and electoral processes without detection of their Russian affiliation, Defendants

conspired to obstruct the lawful functions of the United States government through fraud and

deceit, including by making expenditures in connection with the 2016 U.S. presidential election

without proper regulatory disclosure; failing to register as foreign agents carrying out political

activities within the United States; and obtaining visas through false and fraudulent statements.”

Doc. 1, ¶ 7. The Indictment charges that the defendants used a host of deceptive means, including

surreptitious intelligence gathering in the United States by foreign agents and influence operations

conducted through false online personas. Id. ¶¶ 10-11. The Indictment further alleges defendant

Yevgeniy Viktorovich Prigozhin approved, supported, and funded the operations through other

entities that he directly controls, particularly defendant Concord Management and a second entity,

defendant Concord Catering. Id. ¶¶ 3, 11-12. Prigozhin and both Concord entities charged in the

Indictment were, at that time, under sanctions by the U.S. Department of Treasury for their

involvement in the Russian government’s activities in Ukraine. 3




       3
         Press Release, Treasury Sanctions Individuals and Entities In Connection with Russia's
Occupation of Crimea and the Conflict in Ukraine, available at https://www.treasury.gov/press-
center/press-releases/Pages/jl0688.aspx (Prigozhin); Press Release, Treasury Designates
Individuals and Entities Involved in the Ongoing Conflict in Ukraine, available at
https://www.treasury.gov/press-center/press-releases/Pages/sm0114.aspx (Concord sanctioned
“for being owned or controlled by Yevgeniy Prigozhin”).


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                                           ARGUMENT

THE MOTION TO DISMISS THE INDICTMENT SHOULD BE DENIED BECAUSE THE
SPECIAL COUNSEL WAS VALIDLY APPOINTED AND IS VALIDLY CONDUCTING
THIS PROSECUTION

       Concord challenges the Indictment by claiming that the Acting Attorney General lacked

the congressional authorization required under the Appointments Clause for him to appoint the

Special Counsel; that in any event, the Special Counsel is a principal officer who cannot be

appointed by the Head of a Department; that the Special Counsel regulations violate the separation

of powers by improperly creating a Special Counsel and vesting him with excessive authority; and

that the Appointment Order conflicts with the regulations and the Indictment falls beyond the

Special Counsel’s investigative and prosecutorial jurisdiction. None of those claims has merit.

I.     The Appointment Of The Special Counsel As An Officer In The Department Of
       Justice Is Consistent With The Appointments Clause

       The Appointments Clause specifies how federal officers are appointed:

       [The President] shall nominate, and by and with the Advice and Consent of the
       Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of
       the supreme Court, and all other Officers of the United States, whose Appointments
       are not herein otherwise provided for, and which shall be established by Law: but
       the Congress may by Law vest the Appointment of such inferior Officers, as they
       think proper, in the President alone, in the Courts of Law, or in the Heads of
       Departments.

U.S. Const. Art. II, § 2, cl. 2. The Clause thus distinguishes between principal officers and “inferior

Officers.” By default, all officers must be nominated by the President and confirmed by the Senate.

But Congress may “vest” the power to appoint “inferior Officers” in the President alone, courts,

or a “Head[] of Department[].” It is undisputed that the Special Counsel is an officer and the

Appointments Clause applies. See Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018) (officers are those

who “exercise[] significant authority pursuant to the laws of the United States”) (quoting Buckley

v. Valeo, 424 U.S. 1, 126 (1976) (per curiam)).



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       Concord argues that the appointment of the Special Counsel violates the Appointments

Clause for two alternative reasons. First, if the Special Counsel is an “inferior Officer,” Concord

contends that Congress never “vest[ed]” the power to appoint him in the Attorney General. See

Doc. 36 at 7-26. Second, Concord claims that the Special Counsel is actually a principal officer

whose appointment Congress cannot delegate to the Attorney General. See id. at 26-40. Concord

is wrong on both scores. Under governing Supreme Court precedent, the Special Counsel is an

“inferior Officer,” who was validly appointed by the Acting Attorney General, exercising

appointment power that Congress vested in the Attorney General.

       A.      The Attorney General Has Statutory Authority To Appoint The Special
               Counsel As An “inferior Officer”

       The Supreme Court in United States v. Nixon, 418 U.S. 683 (1974), and the D.C. Circuit in

In re Sealed Case, 829 F.2d 50 (D.C. Cir. 1987), each held that the Attorney General has the

authority under several statutes to delegate the power to prosecute particular matters to a special

counsel. In particular, 28 U.S.C. § 515(b) recognizes the “authority of the Department of Justice”

to “specially retain[]” attorneys, who “shall be commissioned” as special assistants to the Attorney

General or special attorneys. Section 515(a) specifies that attorneys whom the Attorney General

“specially appoint[s]” can have the same powers as U.S. Attorneys.          And 28 U.S.C. § 533

explicitly states that “[t]he Attorney General may appoint officials * * * to detect and prosecute

crimes against the United States.” For more than a century, all three branches of government have

recognized and approved the Attorney General’s authority to appoint special counsels, and none

has cast doubt on this oft-employed power. The only court to confront the issue with respect to

the Special Counsel here found authority for the Acting Attorney General’s appointment. And

Concord’s attempt to insert a “clear-statement rule” for appointment power fails, and in any event

the test would be satisfied here.



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           1. Precedent establishes the Acting Attorney General’s appointment authority

       In United States v. Nixon, the Attorney General appointed a special prosecutor to

investigate offenses related to the 1972 presidential election, empowering the special prosecutor

through expansive regulations. 418 U.S. at 694 & n.8. In explaining that the special prosecutor

had authority to act—because Congress had vested in the Attorney General the power to appoint

and delegate power to the special prosecutor—the Court stated:

       Congress has vested in the Attorney General the power to conduct the criminal
       litigation of the United States Government. 28 U.S.C. § 516. It has also vested in
       him the power to appoint subordinate officers to assist him in the discharge of his
       duties. 28 U.S.C. §§ 509, 510, 515, 533. Acting pursuant to those statutes, the
       Attorney General has delegated the authority to represent the United States in these
       particular matters to a Special Prosecutor with unique authority and tenure.

Id. at 694 (emphasis added). The Court held that, as long as the regulation delegating power to the

special prosecutor remained in place, it bound the entire Executive Branch. Id. at 695-696.

       Concord argues that Nixon turned on the authority of the special prosecutor under the

regulations, not the appointment of the special prosecutor under the statute. See Doc. 36 at 24.

But the Court began its analysis with statutory authority for good reason: the Attorney General

cannot make an appointment (or delegate power) unless he has power himself. Finding statutory

authority for the Attorney General to appoint and delegate powers to the Special Prosecutor was

thus necessary to the Court’s decision to rely on the regulations at issue.

       The D.C. Circuit reached the same conclusion about the Attorney General’s statutory

authority in In re Sealed Case, 829 F.2d at 55. In Sealed Case, the Attorney General relied on

now-lapsed authority under the Ethics in Government Act to appoint independent counsel

Lawrence Walsh to investigate whether certain arms shipments and diversion of funds involved

criminal conduct. Id. at 51-52, 55-56. To avoid a constitutional challenge to the Ethics in

Government Act, the Attorney General gave Walsh a parallel appointment under 5 U.S.C. § 301



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and 28 U.S.C. §§ 509, 510, and 515. See id. at 52-53. Oliver North challenged a subpoena issued

by the independent counsel’s grand jury, arguing that the Attorney General’s delegation was not

“lawful.” Id. at 55. The D.C. Circuit disagreed, finding clear authority to create an independent

counsel:

       We have no difficulty concluding that the Attorney General possessed the statutory
       authority to create the Office of Independent Counsel: Iran/Contra and to convey to
       it the “investigative and prosecutorial functions and powers” described in 28 C.F.R.
       § 600.1(a) of the regulation. The statutory provisions relied upon by the Attorney
       General in promulgating the regulation are 5 U.S.C. § 301 and 28 U.S.C. §§ 509,
       510, and 515.

829 F.2d at 55. While noting that the provisions do not “explicitly authorize the Attorney General

to create an Office of Independent Counsel virtually free of ongoing supervision,” the D.C. Circuit

“read them as accommodating the delegation at issue here.” Id. In finding the power to “create”

the independent counsel office, Sealed Case necessarily found authority to “appoint” an

independent counsel. See id. at 56 (“The Attorney General’s power of appointment extends only

to the Department of Justice; hence the Office of Independent Counsel: Iran/Contra is ‘within’ the

Department, though free of ongoing supervision by the Attorney General.”).

       Concord suggests that the D.C. Circuit issued its opinion in Sealed Case “[w]ithout any

analysis.” Doc. 36 at 25. But the fact that the Circuit had “no difficulty” reaching its conclusion

does not divest the opinion of precedential force. And Concord is wrong to claim that Sealed Case

did not consider the Appointments Clause and that its reasoning rested on the facts of the case.

See Doc. 36 at 25. The decision specifically rejected North’s “conten[tion] that the Attorney

General’s delegation of authority to the Independent Counsel violates the Appointments Clause of

the Constitution.” Sealed Case, 829 F.2d at 56. And for an “inferior Officer,” the Appointments

Clause issue turns on whether Congress gave the Attorney General statutory authority—not on

unspecified “unique facts” about a particular appointment. Cf. Doc. 36 at 25.



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       Nixon and Sealed Case control the outcome here. Those cases held that 28 U.S.C. §§ 509,

510, 515, and 533 give the Attorney General the authority to appoint and delegate criminal law

enforcement functions in particular matters to a special counsel. Here, the Acting Attorney General

exercised that statutory authority to appoint the Special Counsel, whose mandate is, for these

purposes, indistinguishable from those approved in Nixon and Sealed Case.

             2. Multiple statutes establish the Acting Attorney General’s authority

                a. The text of multiple laws give the Attorney General appointment power

       As Nixon and Sealed Case recognized, Section 515 gives the Attorney General authority

to appoint “special attorneys” like the Special Counsel. 4

       Section 515(b) empowers the Attorney General to “commission[]” attorneys who are

“specially retained under authority of the Department of Justice” as “special assistant[s] to the

Attorney General” or “special attorney[s].” 28 U.S.C. § 515(b). The commission is the “warrant

or authority, from the government or a court, that empowers the person named to execute official

acts.” Black’s Law Dictionary 327 (10th ed. 2014); cf. Department of Transp. v. Association of

Am. R.R., 135 S. Ct. 1225, 1235 (2015) (Alito, J., concurring) (“to be an officer, the person should

have sworn an oath and possess a commission”). Section 515(b) thus allows the Attorney General


       4
           28 U.S.C. § 515 provides:

       (a) The Attorney General or any other officer of the Department of Justice, or any attorney
       specially appointed by the Attorney General under law, may, when specifically directed by
       the Attorney General, conduct any kind of legal proceeding, civil or criminal, including
       grand jury proceedings and proceedings before committing magistrate judges, which
       United States attorneys are authorized by law to conduct, whether or not he is a resident of
       the district in which the proceeding is brought.

       (b) Each attorney specially retained under authority of the Department of Justice shall be
       commissioned as special assistant to the Attorney General or special attorney, and shall
       take the oath required by law. Foreign counsel employed in special cases are not required
       to take the oath. The Attorney General shall fix the annual salary of a special assistant or
       special attorney.


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to vest authority in—that is, to appoint—“specially retained” attorneys as officers. Section 515(a)

further recognizes that the Attorney General can “specially appoint[]” attorneys and empower them

to exercise, “when specifically directed by the Attorney General,” all criminal (and civil) powers

possessed by United States Attorneys. Congress thus specified not only that the Attorney General

could appoint special attorneys, but also that he could give special attorneys extensive powers.

       Concord does not address Section 515(b). As for Section 515(a), Concord claims that it

cannot authorize appointments because of its use of the past tense. According to Concord, Section

515(a) governs special attorneys who have already been appointed (under other authority) because

it refers to “any attorney specially appointed.” Doc. 36 at 16-17. Presumably, Concord would

make the same argument about the phrase “[e]ach attorney specially retained” in Section 515(b).

But “appointed” and “retained” are not always past-tense verbs. Here, they are part of participle

phrases modifying “attorney.” And while they are past participles, “[p]ast participles * * * are

routinely used as adjectives to describe the present state of a thing.” Henson v. Santander

Consumer USA Inc., 137 S. Ct. 1718, 1722 (2017); see also id. (“the term ‘past participle’ is a

‘misnomer, since’ it ‘can occur in what is technically a present tense’” (quoting P. Peters, The

Cambridge Guide to English Usage 409 (2004)) (alternations omitted)). In fact, the main verbs in

the statutes are in the present tense: the specially appointed attorney “may * * * conduct” legal

proceedings, and the attorney “shall be commissioned” with a title and “shall take the oath.” And

those present-tense actions should occur together with the appointment, since it makes little sense

to “appoint” a special attorney who has no commission or title, who has not taken the oath of

office, and who has no power to act.

       Further authority for the Attorney General’s appointment power comes from Section 533.

Section 533 specifically confirms that “[t]he Attorney General may appoint officials—(1) to detect




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and prosecute crimes against the United States.” 28 U.S.C. § 533. Beyond quoting Nixon’s

citation of Section 533 as one of the statutes justifying the appointment of the Watergate Special

Prosecutor, see Doc. 36 at 24, Concord does not mention Section 533 at all. In Edmond v. United

States, 520 U.S. 651 (1997), the Supreme Court located the power to appoint Coast Guard judges—

who were “inferior Officers”—in a “default statute” that allowed the Secretary of Transportation

to “appoint and fix the pay of officers and employees of the Department of Transportation.” Id. at

656-658, 666 (quoting 49 U.S.C. § 323(a)). Section 533 is far more specific.

       Even without these more specific appointment statutes, the Attorney General would have

that authority under the separate “housekeeping statute,” 5 U.S.C. § 301, which grants the Attorney

General authority to “prescribe regulations for the government of his department, the conduct of

its employees, [and] the distribution and performance of its business.” At least two courts of

appeals have held that Section 301 provides statutory authority for a department head to create an

inferior office and “appoint its members.” See Willy v. Admin. Review Bd., 423 F.3d 483, 492 (5th

Cir. 2005) (rejecting Appointments Clause challenge to Secretary of Labor’s creation of

Administrative Review Board and appointment of its members); Varnadore v. Sec’y of Labor, 141

F.3d 625, 631 (6th Cir. 1998) (“[A]s required by the Appointments Clause, Congress has imbued

the Secretary with authority to appoint inferior officers.”) (citing 5 U.S.C. § 301 and the

Department of Labor’s organic statutes).

       Thus, Concord’s primary challenge to Section 515(a)—which reads its reference to

attorneys “under law” to refer to another, separate statutory authorization for the appointment

(Doc. 36 at 14-23)—must fail. Even assuming that were so, 28 U.S.C. §§ 515(b) and 533 and 5

U.S.C. § 301, coupled with 28 U.S.C. §§ 509 and 510, would satisfy such a requirement.




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               b. Section 515’s history confirms that it provides appointment power

       The history of Section 515 reveals that its two subsections, by themselves, authorize the

Attorney General to appoint special attorneys such as the Special Counsel. Although Title 28 of

the U.S. Code now groups Section 515(a) and (b) together, Congress originally enacted earlier

versions of them decades apart, in separate laws. The precursor to Section 515(b) came first,

enacted in 1870 in the statute that created the Department of Justice. See An Act to establish the

Department of Justice, ch. 150, § 17, 16 Stat. 162, 164-65 (1870). The 1870 Act centralized the

federal government’s legal work in the Department of Justice. See id. §§ 3, 17, 16 Stat. at 162,

164-165. In addition, “in reaction to abuses in the employment of outside counsel, including the

payment of excessive fees and the sometime inferior quality of their services,” Congress defined

the Attorney General’s power to retain counsel and restricted pay for legal services by special

attorneys. In re Persico, 522 F.2d 41, 57 (2d Cir. 1975).

       Section 366 of the Revised Statutes (1878 ed.), which codified the original predecessor to

Section 515(b), set the requirements for special attorneys:

       Every attorney or counselor who is specially retained under the authority of the
       Department of Justice, to assist in the trial of any case in which the Government is
       interested, shall receive a commission from the head of such Department, as a
       special assistant to the Attorney-General, or to some one of the district attorneys,
       as the nature of the appointment may require; and shall take the oath required by
       law to be taken by the district attorneys, and shall be subject to all the liabilities
       imposed upon them by law.

U.S. Rev. Stat. 1878, § 366 (Appointment and oath of special attorneys or counsel). As the

Supreme Court explained in 1897, the 1870 Act limited the Attorney General’s “discretion to retain

special attorneys by restricting their compensation.” United States v. Crosthwaite, 168 U.S. 375,

379-380 (1897); see also id. at 381 (collecting appropriations bills authorizing compensation for

special assistant district attorneys). But the statutory provisions “left to that officer [(i.e., the




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Attorney General)] to determine whether the public interests required the employment of special

counsel.” Id. at 379 (emphasis added). Thus, as the Court later stated, the Attorney General may,

“if he deems it essential, employ special counsel.” United States v. Winston, 170 U.S. 522, 524-525

(1898).

          The statute now codified at 28 U.S.C. § 515(a) was enacted in 1906, in response to United

States v. Rosenthal, 121 F. 862 (C.C.S.D.N.Y. 1903). Its purpose was to protect the Attorney

General’s authority to have special counsel he appointed be able to conduct grand jury

proceedings. Rosenthal held that a special assistant to the Attorney General, employed to conduct

a criminal matter, could not conduct grand jury proceedings. The court acknowledged that Section

366 “recogni[zed] the Attorney General’s power, not elsewhere stated, to appoint a ‘special

assistant to the Attorney General,’ ‘to assist in the trial of any case.’” Id. at 867. But because

Section 366 referred only to “trials,” the court held that a special assistant could not conduct grand

jury proceedings. See id. at 865-868. Congress responded in 1906 with a law whose “express

purpose * * * was to overrule the broad holding in Rosenthal,” explicitly giving “specially-retained

outside counsel” all of the powers of a U.S. Attorney. In re Persico, 522 F.2d at 59. The 1906 Act,

which was the predecessor for Section 515(a), provided:

          [T]he Attorney-General or any officer of the Department of Justice, or any attorney
          or counselor specially appointed by the Attorney-General under any provision of
          law, may, when thereunto specifically directed by the Attorney-General, conduct
          any kind of legal proceeding, civil or criminal, including grand jury proceedings
          and proceedings before committing magistrates, which district attorneys now are
          or hereafter may be by law authorized to conduct, whether or not he or they be
          residents of the district in which such proceeding is brought.

Act of June 30, 1906, Pub. L. No. 59-404, ch. 3935, 34 Stat. 816, 816-817 (emphasis added). The

House Report accompanying the 1906 Act explained that “[t]here can be no doubt of the

advisability of permitting the Attorney-General to employ special counsel in special cases.” H.R.




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Rep. No. 2901, 59th Cong., 1st. Sess., 1 (1906). The purpose of the new law was to overrule

Rosenthal and restore a special counsel’s power to appear before the grand jury: “It seems

eminently proper that such powers and authority be given by law. It has been the practice to do so

in the past and it will be necessary that the practice shall continue in the future.” Id.

        Subsequent enactments confirm the Attorney General’s appointment authority. In 1930,

Congress amended the precursor to Section 515(b) (then codified at 5 U.S.C. § 315) to allow the

Attorney General to designate “special attorneys” in addition to “special assistants to the Attorney

General.” See Act of Apr. 17, 1930, Pub. L. No. 71-133, 46 Stat. 170. Congress returned to the

statute again in 1948, simplifying its wording. See Act of June 25, 1948, Pub. L. No. 80-773, § 3,

62 Stat. 869, 985-986. Despite the widespread use of special counsels before these enactments,

see pp. 19-21, infra, Congress never questioned the Attorney General’s power of appointment. To

the contrary, the House Report accompanying the 1930 amendment explained that “[u]nder the

present law whenever the Attorney General appoints attorneys to perform special services in the

Department of Justice he must designate them as ‘special assistants to the Attorney General.’ This

title has resulted in confusion and misunderstanding due to the prestige and authority which is

indicated by it * * * . The bill does not provide authority for any new appointments but merely

permits commissions to issue to attorneys as special attorneys in those cases where the Attorney

General feels that it is undesirable to use the title of ‘special assistant to the Attorney General.’”

H.R. Rep. No. 229, 71st Cong., 2d. Sess. 1 (1930).




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               c. The longstanding practice of appointing Special Counsels reinforces the
                  conclusion that the Attorney General has authority to do so

       “Armed with the[] [1870] provisions, Attorneys General made extensive use of special

attorneys. ” Persico, 522 F.2d at 54. These examples span nearly 140 years and include some of

the most notorious scandals in the nation’s history. For example:

       •       In 1881, President Garfield required appointment of special counsel to assist in
               handling the “Star Route” case. H.R. Misc. Doc. No. 38, pt. 2, 48th Cong., 1st
               Sess. 65-66, 122 (1884).

       •       President Theodore Roosevelt directed his Attorney General to appoint special
               prosecutors to investigate scandals on several occasions. In 1903, two attorneys
               were appointed as special counsel to investigate corruption in the Post Office. H.R.
               Doc. No. 383, 58th Cong., 2d Sess. 6, 197 (1904). In 1905, Francis Heney was
               appointed special counsel to prosecute land fraud in Oregon. Charges of Hon.
               Oscar E. Keller Against the Att’y Gen. of the United States: Hearings on H.
               Res. 425 Before the H. Comm. on the Judiciary, 67th Cong. 225 (1922) (testimony
               of William J. Burns).

       •       In 1952, President Truman’s Attorney General appointed a special prosecutor to
               investigate allegations of corruption in the Department of Justice. David Logan,
               Cong. Research Serv., Historical Uses of a Special Prosecutor: The
               Administrations of Presidents Grant, Coolidge and Truman 27-29 (1973).

       •       Attorney General Robert Kennedy appointed Leon Jaworksi as a special prosecutor
               to represent the United States in contempt proceedings brought against Mississippi
               Governor Ross Barnett for violating orders related to the admission of James
               Meredith to the University of Mississippi. United States v. Barnett, 346 F.2d 99
               (5th Cir. 1965); 123 Cong. Rec. S2103 (daily ed. Jan. 25, 1977) (testimony of Leon
               Jaworski).

       •       In 1973, President Nixon’s Attorneys General appointed Archibald Cox and then
               Leon Jaworski as special prosecutors for Watergate. U.S. Department of Justice
               Order No. 518-73 (May 31, 1973) (appointing Cox), available at
               https://www.fordlibrarymuseum.gov/museum/exhibits/watergate_files/content.ph
               p?section=2&page=c&doc=1; First Session on Special Prosecutor: Hearings
               before the S. Comm. on the Judiciary Pt. 2, 93rd Cong., 1st Sess. 450 (1973)
               (testimony of Robert Bork on appointment of Jaworski).

       •       In 1979, President Carter’s Attorney General appointed a special counsel to
               investigate allegations of questionable financial dealings involving the President’s
               family peanut warehouse. 125 Cong. Rec. H5534 (daily ed. Mar. 20, 1979)




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               (statement of Rep. Sensenbrenner); John F. Berry & Ted Gup, Inquiry Clears Carter
               Family’s Peanut Business, Wash. Post, Oct. 17, 1979.

       •       President George H.W. Bush’s second Attorney General appointed three special
               counsels from outside the Department of Justice during his 14-month tenure:
               Nicholas Bua to investigate the matter known as the “Inslaw Affair,” which
               involved allegations against high-level Department of justice officials; Malcolm
               Wilkey to pursue allegations involving the House Bank; and Frederick Lacey to
               conduct a preliminary investigation of loans to Iraq. Cong. Research Serv.,
               Independent Counsel Law Expiration and the Appointment of “Special Counsels”
               3-4 (2002).

       •       In 1994, when the Ethics in Government Act briefly lapsed, President Clinton’s
               Attorney General appointed a special counsel to investigate the Whitewater
               allegations against the President and his former business partners. 59 Fed. Reg.
               5321 (Feb. 4, 1994); 28 C.F.R. § 603.1.

Numerous other special assistants to the Attorney General were appointed in less celebrated cases. 5

       Congress has also long demonstrated its understanding that the Attorney General has

authority to appoint special counsels by repeatedly appropriating funds for the Attorney General

to compensate them. See, e.g., Act of Aug. 30, 1890, ch. 837, 26 Stat. 371, 409-410; Act of Mar.

3, 1891, ch. 542, 26 Stat. 948, 986; Act of Mar. 3, 1901, ch. 853, 31 Stat. 1133, 1181-1182; Act of

Feb. 25, 1903, Pub. L. No. 57-115, 32 Stat. 854, 903-904; Act of Mar. 4, 1921, Pub. L. No. 66-389,

41 Stat. 1367, 1412; Act of June 3, 1948, Pub. L. 80-597, 62 Stat. 305, 317. And published

opinions of the Attorney General, spanning more than a century, have recognized that authority.


       5
          See, e.g., Ewert v. Bluejacket, 259 U.S. 129, 133 (1922); United States v. Milanovich, 303
F.2d 626, 629 (4th Cir. 1962); Sauber v. Gliedman, 283 F.2d 941, 942 (7th Cir. 1960); Belt v. United
States, 73 F.2d 888, 888 (5th Cir. 1934); State of Russia v. Nat’l City Bank of N.Y., 69 F.2d 44, 48
(2d Cir. 1934); Marcum v. Marcum, 62 F.2d 871, 872 (D.C. Cir. 1932); Hale v. United States, 25
F.2d 430, 435 (8th Cir. 1928); Yaselli v. Goff, 12 F.2d 396, 398 (2d Cir. 1926), aff’d, 275 U.S. 503
(1927) (per curiam); May v. United States, 236 F. 495, 498 (8th Cir. 1916); United States v. Powell,
81 F. Supp. 288, 291 (E.D. Mo. 1948); United States v. Atl. Comm’n Co., 45 F. Supp. 187, 190
(E.D.N.C. 1942); United States v. Sheffield Farms Co., 43 F. Supp. 1, 2 (S.D.N.Y. 1942); United
States v. Amazon Indus. Chem. Corp., 55 F.2d 254, 256 (D. Md. 1931); United States v. Huston,
28 F.2d 451, 452 (N.D. Ohio 1928); United States v. Martins, 288 F. 991, 992 (D. Mass. 1923);
United States v. Morse, 292 F. 273, 276 (S.D.N.Y. 1922); United States v. Cohen, 273 F. 620, 620-
621 (D. Mass. 1921); Rosenthal, 121 F. 862.


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See Assignment of Army Lawyers to the Department of Justice, 10 Op. O.L.C. 115, 117 n.3 (1986);

Application of Conflict of Interest Rules to the Conduct of Government Litigation by Private

Attorneys, 4B Op. O.L.C. 434, 442-443 & n.5 (1980) (Appendix); Naval Court-Martial, 18 Op.

Att’y Gen. 135, 136 (1885) (“it was provided (sec. 17) that such special counsel as might be from

time to time required by any Department should be appointed by the Attorney-General only”);

Compensation of Counsel., 13 Op. Att’y Gen. 580, 583 (1871) (“[T]he Secretary of War has no

authority to employ * * * counsel without the consent of the Attorney-General, and * * * if such

counsel be not legal officers of the United States, it is necessary that they shall be specially

commissioned under the provisions of the act.”).

       Against this historical record evidencing the Attorney General’s appointment authority,

Concord points to three statutes in which Congress “clearly and expressly confer[red] authority to

appoint special or independent counsels” and suggests these statutes would have been unnecessary

if Section 515 conferred the authority to do so. Doc. 36 at 17-19. That claim is incorrect. Two of

those statutes provide authority quite unlike Section 515. A 1924 statute to prosecute the Teapot

Dome scandal “authorized and directed” the President to “appoint, by and with the advice and

consent of the Senate, special counsel” “anything in the statutes touching the powers of the

Attorney General of the Department of Justice to the contrary notwithstanding.” Joint Res. of Feb.

8, 1924, Pub. Res. No. 68-4, 43 Stat. 5, 6. And the Ethics in Government Act of 1978 (now lapsed)

directed the Attorney General to ask a division of the D.C. Circuit to appoint an independent

“special prosecutor” (later renamed an “independent counsel”) for allegations against high-level

government officials. See Pub. L. No. 95-521, §§ 601-602, 92 Stat. 1824 (codified at 28 U.S.C.

§§ 49, 591-594).




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       Those statutes do not cast doubt on the authority conferred by Section 515. They vested

the appointment power in actors other than the Attorney General: the President and the courts.

Indeed, the Teapot Dome statute was enacted because “Congress did not trust then-Attorney

General Harry Daugherty,” and it represented “the first and only time that the appointment of a

special prosecutor was to be with the advice and consent of the Senate. Previously, all special

prosecutors were appointed either directly by the President or at the direction of the President by

the Attorney General.” Donald C. Smalz, The Independent Counsel: A View From Inside, 86 Geo.

L.J. 2307, 2315-2316 (1998). With respect to the Ethics in Government Act, the lead Senate Report

began by recounting prominent special prosecutors appointed by Attorneys General—highlighting

their lack of independence, but raising no questions about the Attorney General’s power to appoint

them. See S. Rep. No. 170, 95th Cong., 1st Sess., 2-3, 6-7 (1977). And when Congress allowed

the Ethics in Government Act expire in 1999, then-Deputy Attorney General Eric Holder assured

Congress that if there were “a credible allegation raised against” a “high administration official,”

the Attorney General “has the ability * * * to appoint a special prosecutor and have that person

conduct an investigation.” Reauthorization of the Independent Counsel Statute, Part I: Hearings

Before the Subcomm. On Commercial and Admin. Law, H. Comm. on the Judiciary, 106 Cong.,

1st Sess. 1, 107 (1999).

       As for Concord’s other cited statute, the Payne-Aldrich Tariff Act of 1909 allowed the

Attorney General to “employ and retain * * * special attorneys and counselors at law in the

conduct of customs cases.” Ch. 6, § 28, 36 Stat. 11, 108. The appointment authority under the

Payne-Aldrich Tariff Act is similar to Section 515, but that lone example casts no doubt on the

Attorney General’s authority under other provisions. The Act approved a new Assistant Attorney

General and five additional attorneys to represent the government in the classification and




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litigation work that was sure to accompany the new tariffs. 36 Stat. at 108. The Act also created

a new U.S. Court of Customs Appeals. See id. at 105-108. Since it was creating a new customs

division in the Department of Justice, which would be litigating before a new court, it is not

surprising that Congress explicitly provided that the Attorney General could keep the division fully

staffed, instead of relying on his general authority under Section 515. The existence of overlapping

appointment authority does not imply that Section 515 provided none. Connecticut Nat’l Bank v.

Germain, 503 U.S. 249, 253-254 (1992) (“Redundancies across statutes are not unusual events in

drafting, and so long as there is no ‘positive repugnancy’ between two laws, a court must give

effect to both.”) (citation omitted). 6

        Indeed, after enactment of the Payne-Aldrich Tariff Act, Congress made separate

appropriations for “special attorneys and counselors at law in the conduct of customs cases” and

for “assistants to the Attorney General * * * employed by the Attorney General to aid in special

cases,” demonstrating that it viewed these as separate categories. See, e.g., Act of June 25, 1910,

Pub. L. No. 61-266, 36 Stat. 703, 747, 750; Act of July 1, 1918, Pub. L. No. 65-181, 40 Stat. 634,

681, 683; Act of June 3, 1948, Pub. L. 80-597, 62 Stat. 305, 317. Congress continues to appropriate

money today for the Office of Special Counsel. See Consolidated Appropriations Act, 2018, Pub.

L. No. 115-141, 132 Stat. 348. As these appropriations confirm, Attorneys General have often

appointed, and Congress has funded, special counsel, especially in sensitive investigations. Yet




        6
          Concord also points to an 1861 law that allowed the Attorney General to “employ and
retain” assistants to “the district-attorneys.” Doc. 36 at 19 (citing Act of Aug. 2, 1861, ch. 37, § 2,
12 Stat. 285, 286). That law, which predated the authority later embodied in Section 515, did not
authorize “special assistants to the Attorney General,” so it is difficult to see how it could support
Concord’s argument that Congress’s enactment of specific appointment laws creates doubt about
whether Section 515 gave general power to the Attorney General to appoint assistants to him.


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Concord’s argument means that every branch of government overlooked that none of these special

counsels had authority to exist. That argument strains credulity.

                                                 ***

       In sum, text, history, and longstanding practice confirm that the Attorney General has

statutory authority to appoint a special counsel. And the only judicial decision to address the

Acting Attorney General’s authority to appoint the Special Counsel conducting this investigation

confirms that conclusion. As the district court explained in United States v. Manafort, No.

1:18-cr-83, 2018 WL 3126380 (E.D. Va. June 26, 2018) (Manafort EDVA):

       Congress has authorized the Attorney General to appoint subordinates to assist in
       discharging these duties when necessary. See [28 U.S.C.] §§ 509, 510, 515, 533.
       In this regard, Congress enabled the Attorney General to “specially retain[]”
       attorneys “commissioned as special assistant to the Attorney General or special
       attorney” and to authorize these special assistants to “conduct any kind of legal
       proceeding, civil or criminal, including grand jury proceedings.” Id. § 515.
       Precisely this occurred here * * * . Accordingly, the Acting Attorney General
       acted within his statutory authority when he appointed the Special Counsel and as
       such, the Special Counsel had legal authority to investigate and prosecute this case.

Id. at *12 (second alteration in original). That conclusion is correct and equally applies here. 7




       7
          The Manafort Court’s conclusion that no Appointments Clause challenge could succeed
was integral to the decision’s holdings. 2018 WL 3126380, at *12. First, in rejecting Manafort’s
claim that the Special Counsel regulations were judicially enforceable, the Court emphasized that
“the constitutional and statutory provisions at issue here empower the Attorney General to appoint
a special assistant and to authorize that assistant to conduct criminal litigation on behalf of the U.S.
government,” and for that reason, internal DOJ procedures that were not compelled by the
Constitution or statute need not be enforced by a court. Id. (citing United States v. Caceres, 440
U.S. 741, 749 (1979)). Second, in distinguishing Manafort’s reliance on United States v.
Providence Journal, 485 U.S. 693 (1988)—which Manafort cited in arguing that a prosecutor
whose appointment was inconsistent with a DOJ regulation could not represent the United States
in court—the Manafort Court stated that “a violation of the Special Counsel regulations would not
deprive the Special Counsel of the requisite legal authority to investigate and prosecute this matter
because the Special Counsel’s appointment was consistent with both the Constitution and relevant
federal statutes.” Id. at *14. Thus, even though Manafort had not raised an Appointments Clause
challenge, id. at *12, the Court addressed and resolved the issue.


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           3. No clear-statement rule applies to laws authorizing appointments under the
              Appointments Clause

       Concord argues that the Appointments Clause requires a “clear and unambiguous

statement” in a statute to vest appointment of “inferior Officers” in the “Head of [a] Department[].”

Doc. 36 at 10-13. No sound principle justifies that suggestion; the authorities on which Concord

relies do not support it; and, in any event, a clear-statement rule would be satisfied here.

       A clear-statement rule would make little sense in this context. In permitting Congress to

repose appointment power for “inferior Officers” in Heads of Departments, the Appointment

Clause’s “obvious purpose is administrative convenience.” Edmond, 520 U.S. at 660 (citing

United States v. Germaine, 99 U.S. 508, 510 (1879)). But requiring a clear statement for each

delegation of appointment authority “would be legislatively unworkable and defeat the purpose of

the relaxed requirements for ‘inferior officer’ appointments. The Framers of the Constitution

created the classification of ‘inferior officers’ because they foresaw that ‘when offices became

numerous, and sudden removals necessary,’ nomination by the President and confirmation by the

Senate ‘might become inconvenient.’” Pa. Dep’t of Pub. Welfare v. U.S. Dep’t of Health & Human

Svcs., 80 F.3d 796, 805 (3d Cir. 1996) (quoting Germaine, 99 U.S. at 510).

       Concord’s concerns about separation of powers have no relevance here. Doc. 36 at 12-13

(citing Bond v. United States, 134 S. Ct. 2077, 2088-2090 (2014); Kucana v. Holder, 558 U.S. 233,

237 (2010); Franklin v. Massachusetts, 505 U.S. 788, 800-801 (1992); Freytag v. Commissioner,

501 U.S. 868, 882 (1991)). The power to appoint the Special Counsel remains within the Executive

Branch, exercised by an official who is accountable to the President—the Attorney General, who

is removable at will. See Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477,

493 (2010). Freytag’s concerns about “the danger of one branch’s aggrandizing its power at the

expense of another branch” and “preventing the diffusion of the appointment power,” 501 U.S. at



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878, thus do not apply here; an acting member of the Cabinet is delegating his own authority to

someone he selects. Limits on jurisdiction-stripping in Kucana, skepticism towards reviewing the

President’s actions for “abuse of discretion” in Franklin, and the presumption against altering the

federal-state balance discussed in Bond are even more removed. Concord offers no reason why

this Court should read a clear-statement rule into the Appointments Clause.

       Concord also offers no authority for doing so. He first points to Burnap v. United States,

252 U.S. 512 (1920). Doc. 36 at 10. There, the Court considered a petition from a landscape

architect who claimed he had been improperly removed by the Chief of Engineers within the War

Department, arguing that only the Secretary of War could appoint and remove him. See Burnap,

252 U.S. at 514, 519-521. Concord quotes a passage that noted that “[t]here is no statute which

provides specifically by whom the landscape architect in the office of public buildings and grounds

shall be appointed.” Id. at 518 (emphasis added). That passage had nothing to do with the standard

for delegations under the Appointments Clause. It merely highlighted uncertainty about the key

question in that case—who was supposed to appoint and remove the landscape architect. Indeed,

Burnap cuts against any heightened requirement of clear statement for a law authorizing

appointments. Burnap explained that a statute authorizing a department head to “employ”

specified positions “confer[s] the power of appointment upon the heads of departments.” Id. at

518. “The term ‘employ’ is used as the equivalent of appoint.” Id. at 515 (citing Department

Clerks—Delegation of Power, 21 Op. Att’y Gen. 355, 356 (1896)); cf. Doc. 36 at 19 (citing

“employ and retain” statutes as examples of appointment statutes)

       Concord next invokes Morrison v. Olson, 487 U.S. 654 (1988), and Intercollegiate

Broadcasting System, Inc. v. Copyright Royalty Board, 684 F.3d 1332 (D.C. Cir. 2012), arguing

that they “required a statute that clearly and specifically provided the authority to appoint the




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officer whose status is under scrutiny.” Doc. 36 at 10 (emphasis added). The statutes in Morrison

and Intercollegiate Broadcasting did explicitly delegate appointment authority. See 28 U.S.C.

§ 593(b) (1982); 17 U.S.C. § 801(a). But nothing in those decisions suggests that the explicit grant

of authority was required, or even relevant. Morrison quoted the authorizing statute only once,

and Intercollegiate Broadcasting did not quote it at all. Far more pertinent is Edmond, whose

reliance on a “default statute” made clear that Congress need not “clearly and specifically” grant

specific authority to appoint each officer. 520 U.S. at 656. Lower courts agree that “Article II

‘does not require that a law specifically provide for the appointment of a particular inferior

officer.’” Willy, 423 F.3d at 491 (quoting Pa. Dep’t of Pub. Welfare, 80 F.3d at 804-805); see also

Varnadore, 141 F.3d at 631.

       Last, Concord invokes authorities interpreting 28 U.S.C. § 516 and § 519, which are even

further afield. See Doc. 36 at 11 (citing United States v. Hercules, Inc., 961 F.2d 796 (8th Cir.

1992); Attorney Gen.’s Role As Chief Litigator for the United States, 6 Op. O.L.C. 47 (1982)).

Those statutes declare that, “[e]xcept as authorized by law,” the Department of Justice conducts

all litigation involving the federal government, and the Attorney General must supervise that

litigation. Hercules explains that these statutes disfavor implied repeals of the Attorney General’s

“exclusive authority and plenary power to control the conduct of litigation in which the United

States is involved,” and courts thus require “a clear and unambiguous directive from Congress”

before finding the Attorney General’s “statutory authority” diminished. 961 F.2d at 798. The

Office of Legal Counsel opinion similarly points to case law “narrowly constru[ing]” statutes

granting litigating authority to other agencies. See Attorney Gen.’s Role, 6 Op. O.L.C. at 55-56.

But granting the Attorney General the option to appoint a special counsel—who remains in the




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Department of Justice, and handles only proceedings “specially directed by the Attorney General,”

28 U.S.C. § 515(a)—augments the Attorney General’s power, not diminishes it.

       Finally, even if a clear-statement rule applied, it would be amply satisfied here. Section

515(b) provides a time-honored source of clear authority. See pp. 10-24, supra. And Concord

does not address Section 533, which states that “[t]he Attorney General may appoint officials * * *

to detect and prosecute crimes against the United States.” Concord’s statutory challenges to the

Acting Attorney General’s authority to appoint the Special Counsel therefore must fail, even under

its own approach.

       B.      The Special Counsel Is Not A Principal Officer Under The Appointments
               Clause

       Concord alternatively argues that the Special Counsel “is a principal Officer within the

meaning of the Appointments Clause and therefore was required to be appointed by the President

and confirmed by the Senate.” Doc. 36 at 26. That argument cannot be reconciled with nearly

140 years of practice of special counsel appointments made without presidential nomination or

Senate confirmation; analysis under the Appointments Clause; or binding precedent.

            1. An inferior officer is one who reports to and is supervised by a superior officer

       In Morrison, the Supreme Court held that an independent counsel appointed by a Special

Division of the D.C. Circuit pursuant to the Ethics in Government Act of 1978 “clearly falls on the

‘inferior officer’ side” of the principal/inferior officer line. Morrison, 487 U.S. at 671. The Court

explained that “[s]everal factors lead to this conclusion.” Id. First, the independent counsel was

“subject to removal by a higher Executive Branch official.” Id. Although removal required good

cause, id. at 663, the Attorney General’s power “indicates that she is to some degree ‘inferior’ in

rank and authority,” id. at 671. Second, the independent counsel was empowered “to perform only

certain, limited duties[:] * * * investigation and, if appropriate, prosecution for certain federal



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crimes.” Id. The independent counsel was not given “any authority to formulate policy for the

Government or the Executive Branch * * * [or] any administrative duties outside those necessary

to operate her office.” Id. at 671-672. Third, the independent counsel’s office was “limited in

jurisdiction” because the independent counsel could “only act within the scope of the jurisdiction

that has been granted by the Special Division pursuant to a request by the Attorney General.” Id.

at 672. And finally, the independent counsel’s position was temporary “in the sense that an

independent counsel is appointed essentially to accomplish a single task, and when that task is

over the office is terminated, either by the counsel herself or by action of the Special Division.”

Id. These factors were “sufficient to establish that [an independent counsel] is an ‘inferior’ officer

in the constitutional sense.” Id.

       In Edmond, the Supreme Court held that civilian members of the Coast Guard Court of

Criminal Appeals “are ‘inferior Officers’ within the meaning of” the Appointments Clause. 520

U.S. at 666. Although two of the Morrison factors—narrow jurisdiction and limited tenure—did

not apply to Coast Guard judges, the Court explained that Morrison did not set forth “a definitive

test for whether an officer is ‘inferior’ under the Appointments Clause.” Id. at 661. Rather, the

Court found it “evident that ‘inferior officers’ are officers whose work is directed and supervised

at some level by others who were appointed by Presidential nomination with the advice and

consent of the Senate.” Id. at 663. Because the Judge Advocate General exercised administrative

oversight over the Coast Guard Court of Criminal Appeals, which included the power to remove

judges without cause, id. at 664, and the Court of Appeals for the Armed Forces could reverse the

Coast Guard Court of Criminal Appeals’ decisions, id. at 664-665, the Court concluded that the

judges were “‘inferior Officers,’” id. at 666.




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       In Intercollegiate Broadcasting System, the D.C. Circuit applied Morrison and Edmond to

conclude that Copyright Royalty Judges “as currently constituted are principal officers who must

be appointed by the President and confirmed by the Senate.” 684 F.3d at 1340. The court of

appeals interpreted Morrison as “seem[ing] to rest on a premise that levels of significance [of an

officer’s authority] may play some role in the divide between principal and inferior,” a premise the

court found the Supreme Court to have rejected in Edmond. Id. at 1337. In the court of appeals’

view, Edmond instead focused on three factors: whether the officer was (1) “subject to the

substantial supervision and oversight” of a principal officer, (2) removable without cause, and (3)

able to render a final decision on behalf of the United States. Id. at 1338. Because Copyright

Royalty Judges had “vast discretion over * * * rates and terms,” id. at 1339, could be removed

“only for misconduct or neglect of duty,” id. at 1340, and could not have their rate determinations

reversed or corrected by anyone else within the executive branch, id., the Circuit concluded that

Copyright Royalty Judges are principal officers, id.

           2. The Special Counsel reports to and is supervised by the Attorney General and
              is therefore an inferior officer

       Under Edmond and Intercollegiate Broadcasting—as well as Morrison and precedent

applying it, see pp. 37-41, infra—the Special Counsel is an “inferior Officer” because the Acting

Attorney General supervises the Special Counsel’s work, may remove him from office, and may

review and countermand his decisions.

               a. The Special Counsel is subject to supervision and oversight

       First, the Special Counsel is “subject to the substantial supervision and oversight” of the

Attorney General. Intercollegiate Broad., 684 F.3d at 1338. The Special Counsel’s existence

depends on the Acting Attorney General, who appointed him, defined the scope of his authority,

and delegated to him powers that are otherwise vested in the Attorney General alone. See 28



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U.S.C. §§ 509, 510; Appointment Order (introduction and ¶¶ (a)-(d)). And Section 509, which

“vest[s] in the Attorney General” “[a]ll functions of other offices of the Department of Justice,”

ensures that the Attorney General has statutory authority to supervise the Special Counsel—

contrary to Concord’s unsupported suggestion that no such authority exists (Doc. 36 at 30).

        The regulations made applicable to the Special Counsel provide further direction and

supervision. See Appointment Order ¶ (d). These regulations ensure “that ultimate responsibility

for the matter [the Special Counsel is appointed to investigate and, if appropriate, prosecute] and

how it is handled will continue to rest with the Attorney General.” Office of Special Counsel, 64

Fed. Reg. 37,038, 37,038 (July 9, 1999).

       The regulations, among other things, require the Special Counsel (1) to report to the Acting

Attorney General on a regular basis, and (2) to follow departmental review and approval

procedures, including not taking any action prohibited by the Acting Attorney General. “Upon

request,” the Special Counsel must “provide an explanation for any investigative or prosecutorial

step” to the Acting Attorney General. 28 C.F.R. § 600.7(b) (emphasis added). Furthermore, the

Special Counsel is required to “notify the [Acting] Attorney General of events in the course of his

or her investigation in conformity with the Departmental guidelines with respect to Urgent

reports.” Id. § 600.8(b). Those guidelines require advance reports of “major developments in

significant investigations and litigation,” USAM § 1-13.100, available at https://www.justice.gov/

usam/usam-1-13000-urgent-reports.

       In addition to providing the Acting Attorney General with the information necessary to

conduct significant oversight of his investigation, the Special Counsel is also subject to the Acting

Attorney General’s supervision. The Special Counsel must “comply with the rules, regulations,

procedures, practices and policies of the Department of Justice,” including “compliance with




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required review and approval procedures by the designated Departmental component[s].”

28 C.F.R. § 600.7(a). The regulations further require the Special Counsel to obtain approval from

the Acting Attorney General if he “concludes that additional jurisdiction beyond that specified in

his or her original jurisdiction is necessary in order to fully investigate and resolve the matters

assigned, or to investigate new matters that come to light in the course of his * * * investigation.”

28 C.F.R. § 600.4(b). And the Special Counsel may not take action that the Acting Attorney

General finds “is so inappropriate or unwarranted under established Departmental practices that it

should not be pursued.” Id. § 600.7(b). The regulations thus “explicitly acknowledge the

possibility of review of specific decisions reached by the Special Counsel.” Office of Special

Counsel, 64 Fed. Reg. at 37,038.

       Concord makes two arguments in an attempt to minimize the significance of the

regulations, both of which lack merit. First, Concord asserts that, because the regulations are not

enforceable by private parties, they are invalid, thus leaving “no objective legal basis for direction

and supervision of the Special Counsel: only such direction and supervision, if any, that the

[Acting] Attorney General elects, at his sole discretion—unreviewable by the Judiciary—to

exercise.” Doc. 36 at 30. But that argument confuses two separate issues: whether the regulations

are binding on the Department of Justice and whether they may be enforced in court. As the

Supreme Court’s decision in United States v. Nixon makes clear, “[s]o long as this [special

prosecutor] regulation is extant it has the force of law,” and “the Executive Branch is bound by it.”

418 U.S. at 694-695. While the Special Counsel regulation specifically provides that it does not

create enforceable rights “in any matter, civil, criminal, or administrative,” 28 C.F.R. § 600.10,

that does not detract from its binding character on the actions of the Special Counsel and Acting

Attorney General. Nixon, 418 U.S. at 694-695. And if Concord were right that the regulations do




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not count at all in Appointments Clause analysis (see Doc. 36 at 30), the Attorney General would

have the same plenary authority he has over other officers in the Department of Justice, see 28

U.S.C. § 510—which would further refute Concord’s argument.

       Concord’s second argument—that the regulations “do[] not authorize the [Acting] Attorney

General to countermand steps taken by the Special Counsel[,]” Doc. 36 at 32—is equally

unfounded. According to Concord (id. at 31-33), because 28 C.F.R. § 600.7(b) uses the word

“should” rather than the word “shall,” the regulation does not allow the Acting Attorney General

to prevent the Special Counsel from taking any actions, including those that are “inappropriate or

unwarranted under established Departmental practices.” But the regulation’s use of the word

“should” rather than “shall” is not dispositive. Doe v. Hampton, 566 F.2d 265, 281-282 (D.C. Cir.

1977) (“We of course recognize that the provision in question employs the directory ‘should be’

rather than the mandatory ‘shall’ or ‘must’, but this should not be automatically determinative of

the issue.”); American Petroleum Inst. v. EPA, 684 F.3d 1342, 1348-1349 (D.C. Cir. 2012) (“The

use of the phrase ‘should be’ rather than ‘shall’ suggests but does not necessarily mean the

Guidelines are not binding.”). Rather, the context of the regulation and the Attorney General’s

intent in promulgating it inform its meaning. See, e.g., Midtec Paper Corp. v. United States, 857

F.2d 1487, 1500 (D.C. Cir. 1988).

       Both the Attorney General’s intent in promulgating the regulations and the context for

§ 600.7(b)’s use of the word “should” make clear that § 600.7(b) gives the Acting Attorney General

authority to countermand a special counsel when the regulation’s terms are met. The intent of the

regulations is to ensure that “ultimate responsibility” for how a special counsel investigation “is

handled will continue to rest with the Attorney General.” Office of Special Counsel, 64 Fed. Reg.

at 37,038—which implies some directive authority. See, e.g., United States v. Montgomery, 462




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F.3d 1067, 1070 n.2 (9th Cir. 2006) (“A court might be especially disposed to use ‘should’ as

gentler way for one court to tell another court what it ought to do.”). And context confirms that

the Attorney General’s determination will govern the Special Counsel’s action by requiring the

Attorney General to notify Congress at the conclusion of the investigation if he “concludes that a

proposed action by a Special Counsel should not be pursued,” 28 C.F.R. § 600.7(b), see also id.

§ 600.9(a)(3). Under Concord’s view, § 600.7(b) merely requires the Attorney General to inform

Congress that he disagreed with an action that a special counsel took anyway—a requirement that

makes little sense.

       Even if § 600.7(b)’s use of “should” rather than “shall” were thought ambiguous,

notwithstanding that regulation’s design and context, the Department of Justice understands

§ 600.7(b) to preclude a Special Counsel from taking any action that Acting Attorney General

determines “is so inappropriate or unwarranted under established Departmental practices that it

should not be pursued.” Because that interpretation is not “‘plainly erroneous or inconsistent with

the regulation,’” it “is controlling.” Polm Family Found., Inc. v. United States, 644 F.3d 406, 409

(D.C. Cir. 2011) (quoting Auer v. Robbins, 519 U.S. 452, 461 (1997)); see also INS v. Stanisic, 395

U.S. 62, 70-72 (1969).

               b. The Special Counsel is removable by the Attorney General

       The several ways in which the Special Counsel may be removed also supports the

conclusion that he is an inferior officer. The Special Counsel is directly removable for “misconduct

* * * or for other good cause, including violation of Departmental policies.” 28 C.F.R. § 600.7(d).

The Special Counsel may also be removed by the Attorney General’s decision to terminate the

investigation. The regulations provide that, 90 days before the beginning of each fiscal year, the

Special Counsel must provide a status report and a budget request, and “[t]he Attorney General

shall determine whether the investigation should continue.” Id. § 600.8(a)(2). Termination of the


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investigation would automatically terminate the Special Counsel’s office.             And given the

regulation’s intention that the investigation have a defined factual focus, see id. § 600.4(a), Special

Counsels appointed under the regulation can be expected to have a limited time horizon and the

investigation a definite endpoint. 8

       Concord focuses only on the “good cause”-removal provision of § 600.7(d), erroneously

urging that this factor reinforces its claim that the Special Counsel is a principal officer. Doc. 36

at 35. Concord notes that the Coast Guard judges in Edmond were removable without cause, 520

U.S. at 664, and the members of the Public Company Accounting Oversight Board in Free

Enterprise Fund v. Public Co. Accounting Oversight Bd., 561 U.S. 477, 510 (2010), became

removable at will after the Court invalidated restrictions on the Securities and Exchange

Commission’s authority to remove them.

       But the Supreme Court has “expressed no doubt that when [C]ongress, by law, vests the

appointment of inferior officers in the heads of departments, it may limit and restrict the power of

removal as it deems best for the public interest.” United States v. Perkins, 116 U.S. 483, 485




       8
         The Special Counsel regulations could also be revoked at the Acting Attorney General’s
sole discretion, thus permitting termination of the Special Counsel at will. See Nixon, 418 U.S. at
696 (noting that “it is theoretically possible for the Attorney General to amend or revoke the
regulation defining the Special Prosecutor’s authority”); Sealed Case, 829 F.2d at 56 (noting that
“the Independent Counsel: Iran/Contra serves only for so long as the March 5, 1987, regulation
remains in force. Subject to generally applicable procedural requirements, the Attorney General
may rescind this regulation at any time, thereby abolishing the Office of Independent Counsel:
Iran/Contra.”); Office of Special Counsel, 64 Fed. Reg. at 37,041 (the regulations governing the
Special Counsel were promulgated as rules “relat[ing] to matters of agency management or
personnel” and “therefore exempt from the usual requirements of prior notice and comment and a
30-day delay in the effective date,” implying that the regulations’ removal restriction could
likewise be amended or eliminated without notice-and-comment rulemaking. See 5 U.S.C.
§ 553(a)(2)); but see Nader v. Bork, 366 F. Supp. 104, 108-109 (D.D.C. 1973) (finding revocation
of regulation establishing the Watergate Special Prosecutor regulation arbitrary and unreasonable).
Whatever the outcome of that analysis, the existing means of removing a Special Counsel under
the regulation confirm that he is an inferior officer.


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(1886); see Morrison, 487 U.S. at 693 n. 27 (citing Perkins); id. at 724 n.4 (Scalia, J., dissenting)

(same). Although “good cause” removal in combination with the other factors may support a

finding of principal officer status, see, e.g., Intercollegiate Broadcasting, 684 F.3d at 1339-1340,

it does not mandate such a finding standing alone. The independent counsel found to be an inferior

officer in Morrison was removable only for good cause, indeed, on a narrower standard than

applies here. 487 U.S. at 686-693. So were the special trial judges of the Tax Court found to be

inferior officers in Freytag, 501 U.S. at 882; see 26 U.S.C. § 7443(f). In Morrison, the factors of

limited duties, jurisdiction, and tenure supported that conclusion, 487 U.S. at 671-672, and, as

discussed below, the same factors are present here. And, as noted above, the regulations provide

an additional, concrete termination mechanism: the unconstrained power of the Attorney General

to allow an investigation to expire at the end of the fiscal year. 28 C.F.R. § 600.8(a)(2).

               c. The Special Counsel’s decisionmaking authority is subject to review and
                  correction

       Finally, the Special Counsel is not a principal officer because he does not have unlimited

authority to make final decisions on behalf of the United States. See 28 C.F.R. § 600.7(b). The

Acting Attorney General’s review of Special Counsel decisionmaking is “narrower” than plenary

review, but “[t]his limitation upon review does not * * * render the [Special Counsel a] principal

officer[].” Edmond, 520 U.S. at 665. “What is significant is that the [Special Counsel] ha[s] no

power to render a final decision on behalf of the United States unless permitted to do so by other

Executive officers.” Id.

       Concord asserts that the Special Counsel has the authority to make final decisions on behalf

of the United States because the regulations “nowhere require the Special Counsel to obtain the

approval or permission of the Attorney General before making final decisions about who to

investigate, indict, and prosecute.” Doc. 36 at 35. That is also true for United States Attorneys,



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28 U.S.C. § 547, who are nonetheless inferior officers. See Myers v. United States, 272 U.S. 52,

159 (1926); United States v. Hilario, 218 F.3d 19, 25-26 (1st Cir. 2000); United States v. Gantt,

194 F.3d 987, 999 (9th Cir. 1999); United States Attorneys—Suggested Appointment Power of the

Attorney General—Constitutional Law (Article II, § 2, cl. 2), 2 Op. O.L.C. 58, 59 (1978) (“U.S.

Attorneys can be considered to be inferior officers”); see also 28 U.S.C. § 546(a), (d) (providing

for appointment of a U.S. Attorney by the Attorney General or a court if the office is vacant). And

the Special Counsel has “the investigative and prosecutorial functions of any United States

Attorney.” 28 C.F.R. § 600.6. Few inferior-officer positions require a supervisor to review every

single decision. Thus, that the Special Counsel need not obtain Acting Attorney General approval

of every decision cannot transform the Special Counsel into a principal officer, requiring

presidential appointment and Senate confirmation.

           3. Morrison and Sealed Case foreclose Concord’s principal-officer argument

       The conclusion that a Special Counsel is not a principal officer is also compelled by binding

precedent. The Supreme Court in Nixon characterized the Watergate Special Prosecutor as a

“subordinate officer[], appointed “to assist [the Attorney General] in the discharge of his duties.”

418 U.S. at 694. And when Appointments Clause challenges to independent counsels arose in

Morrison and Sealed Case, the Supreme Court and D.C. Circuit held that the independent counsels

in question were inferior officers based on reasoning that equally applies here.

       The statutory independent counsel at issue in Morrison was subject to less oversight and

supervision than is the Special Counsel here: the independent counsel was not required to explain

her investigative or prosecutorial steps to the Attorney General, and the Attorney General had no

authority to countermand the independent counsel’s actions. Compare Morrison, 487 U.S. at 662-

665, with 28 C.F.R. § 600.7(b). As for the factors identified in Morrison, both an independent

counsel and a Special Counsel may be removed by the Attorney General for good cause, Morrison,


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487 U.S. at 671; 28 C.F.R. § 600.7(d); both have “certain, limited duties,” Morrison, 487 U.S. at

671; e.g., Appointment Order ¶¶ (b) & (c); both may “only act within the scope of th[eir]

jurisdiction,” Morrison, 487 U.S. at 672, see 28 C.F.R. § 600.4(a), (b); and both are “appointed

essentially to accomplish a single task, and when that task is over the office is terminated, either

by the counsel [him]self or by action of the [Acting Attorney General.]” Morrison, 487 U.S. at

672; 28 C.F.R. § 600.8(c). Thus, the Morrison factors “establish that [the Special Counsel] is an

‘inferior’ officer in the constitutional sense.” 487 U.S. at 672; see Manafort EDVA, 2018 WL

3126380, at *3 n.5 (citing Morrison for the proposition that “[t]he Special Counsel appears quite

plainly to be an inferior officer. He is required to report to and is directed by the Deputy Attorney

General.”); United States v. Libby, 429 F. Supp. 2d 27, 44 (D.D.C. 2006) (explaining that special

counsel Patrick Fitzgerald “falls squarely into the mold of Morrison, where the Supreme Court

concluded that the independent counsel was an inferior officer. The factors employed in Morrison

to reach that conclusion are equally applicable here.”).

       Concord claims that Morrison “has been supplanted by Edmond” and thus that its

“reasoning should not be viewed as controlling.” Doc. 36 at 26, 36. But the Supreme Court has

never said so. See Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S. 477, 484

(1989); cf. PHH Corp. v. Consumer Fin. Prot. Bureau, 881 F.3d 75, 96 (D.C. Cir. 2018) (en banc)

(noting, in another context, that Morrison “remains valid and binding precedent.”). Concord also

attempts to distinguish Morrison, claiming that the independent counsel’s duties, jurisdiction, and

tenure were more limited than the Special Counsel’s. Doc. 36 at 36-38. But Concord’s attempt to

“characteriz[e] the Independent Counsel in Morrison as an insignificant inferior officer * * * [is],

at best, strained.” PHH Corp., 881 F.3d at 113 (Tatel, J., concurring). While Concord stresses that

Morrison’s specific inquiry was “limited * * * to looking at then Assistant Attorney General




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Theodore Olson and testimony he gave to Congress on a particular date,” Doc. 36 at 36, in

determining that the independent counsel was an inferior officer, the Supreme Court focused solely

on the statutory structure of the office, not on Morrison’s particular investigation. See Morrison,

487 U.S. at 671-72. Concord effectively concedes the point, urging elsewhere that Appointments

Clause challenges should focus on the statutory and regulatory structure rather than the particular

matter at issue. Doc. 36 at 29-30.

       Concord’s other attempts to distinguish Morrison also fail. Concord minimizes the

independent counsel’s duties and jurisdiction by asserting that they were “narrowly restricted by

statute to investigating and prosecuting ‘certain federal crimes’ by specific categories of persons.”

Doc. 36 at 36; see id. at 38. Those categories, however, encompassed the authority to investigate

“the President and Vice President, Cabinet level officials, certain high-ranking officials in the

Executive Office of the President and the Justice Department, the Director and Deputy Director of

Central Intelligence, the Commissioner of Internal Revenue, and certain officials involved in the

President’s national political campaign,” and to prosecute these individuals for “violations of ‘any

Federal criminal law other than a violation classified as a Class B or C misdemeanor or an

infraction.’” Morrison, 487 U.S. at 660 n.2. Concord’s argument (Doc. 36 at 37) that the Special

Counsel exercised “authority to formulate policy” by indicting this case on a new legal theory is

factually wrong, but in any event it overlooks that the Special Counsel is required to comply with

Department policy, see 28 C.F.R. § 600.7(a), can be removed for “violation of departmental

policies,” id. § 600.7(d), and may be overruled for serious departures from “established

Departmental practices,” id. § 600.7(b). Concord’s suggestion (Doc. 36 at 38) that there was no

“determination by the Attorney General that an appointment of a Special Counsel was warranted

in the first place” cannot be squared with the Acting Attorney General’s Appointment Order




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making that precise determination. And, contrary to Concord’s assertion (id. at 39), the regulations

governing the Special Counsel’s investigation specifically contemplate a “conclusion of the

Special Counsel’s work,” when he must “provide the Attorney General with a confidential report

explaining the prosecution or declination decisions reached by the Special Counsel.” 28 C.F.R.

§ 600.8(c).

       The D.C. Circuit’s binding opinion in Sealed Case—which Concord does not address in

its principal/inferior officer analysis—likewise compels the conclusion that the Special Counsel is

an inferior officer for Appointments Clause purposes. As previously noted (p. 11-12, supra), the

Attorney General, invoking his authority under 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, and

515, created the “Office of Independent Counsel: Iran/Contra” and delegated to Lawrence Walsh

the authority to investigate that matter and prosecute crimes arising from it. Sealed Case, 829 F.2d

at 51-52, 55-56. In rejecting North’s Appointments Clause challenge, the D.C. Circuit concluded

that Walsh was “‘charged with the performance of the duty of the superior [i.e., the Attorney

General] for a limited time and under special and temporary conditions,” and “[a]s such * * *

remains an ‘inferior Officer’ whom the Attorney General, as the ‘Head[] of [a] Department[ ],’ may

appoint under the express terms of the Appointments Clause.” Id. at 56-57 (quoting United States

v. Eaton, 169 U.S. 331, 343 (1898)) (alterations in Sealed Case). Because the Special Counsel

here was appointed pursuant to the same statutory authority as Walsh, and was tasked with an

investigation that is similarly limited in scope, Sealed Case mandates the conclusion that the

Special Counsel is an “inferior Officer.”

                                              * * *

       In sum, both squarely applicable precedent in Morrison and Sealed Case and analysis under

general Appointments Clause principles leads to the same conclusion: the Special Counsel is an




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“inferior Officer” who may be appointed by the Acting Attorney General pursuant to his

longstanding statutory authority to appoint officers in the Department of Justice.

II.    The Special Counsel Regulations Are Valid And The Existence Of The Special
       Counsel Does Not Violate The Separation of Powers

       Concord next argues that the special counsel regulations “are unlawful and invalid and,

consequently, the Special Counsel position violates core separation-of-powers principles.” Doc.

36 at 40. Concord begins by positing a separation-of-powers problem if the Special Counsel

regulations are not binding (Doc. 36 at 40; see also id. at 47-48), then proceeds to find a separation-

of-powers problem if they are because, he says, they are unauthorized by statute (id. at 40-43).

Neither submission withstands analysis.

       If the regulations were not binding, Special Counsels would occupy the same position as

any other official in the Department: subject to the Attorney General’s plenary control with respect

to the scope of delegated authority. And the Attorney General’s decisions about how and whether

to delegate authority to the Special Counsel, see 28 U.S.C. § 510, would receive the same

presumption of regularity that applies to other exercises of prosecutorial discretion. United States

v. Armstrong, 517 U.S. 456, 464 (1996). Nothing in that regime would offend the separation of

powers. But as discussed above, the regulations do have force in structuring the actions of the

Special Counsel: so long as the regulations are in place and made applicable to a Special

Counsel—as they were here—they bind the Executive Branch. See Nixon, 418 U.S. at 695-696.

       Concord next argues (Doc. 36 at 40-43) that the “Special Counsel position” violates the

separation of powers even if the regulations are binding and enforceable, because the Attorney

General lacks statutory authority to promulgate the regulations and so they “provide no check on

the Special Counsel’s expansive jurisdiction.” Id. at 41. But the Attorney General had ample

authority to issue the regulations. Under the “housekeeping statute,” 5 U.S.C. § 301, the Attorney



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General has authority to “prescribe regulations for the government of his department, the conduct

of its employees, [and] the distribution and performance of its business.” As the Supreme Court

explained in Chrysler Corporation v. Brown, 441 U.S. 281, 309 (1979), Section 301 is “a grant of

authority to [an] agency to regulate its own affairs.” The Attorney General properly relied on that

statute and others to promulgate the special counsel regulation, which clearly regulates the

Department’s “own affairs.” See Office of Special Counsel, 64 Fed. Reg. at 37,042 (invoking

authority under 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, and 515-519). In Sealed Case, the D.C.

Circuit noted that the Supreme Court in Nixon “presupposed the validity of a regulation appointing

the Special Prosecutor, a position indistinguishable from the [special counsel] at issue” and had

“no difficulty concluding that the Attorney General possessed the statutory authority to create the

Office of Independent Counsel: Iran/Contra and to convey to it the ‘investigative and prosecutorial

functions and powers’ described in * * * the regulation.” 829 F.2d at 55 & n.30.

       Concord suggests that when the Attorney General issued the Special Counsel regulations,

he improperly circumvented Congress’s decision to allow the Ethics in Government Act’s

independent-counsel provisions to expire. Doc. 36 at 42-43. That suggestion errs in equating the

two regimes; the two are worlds apart. Unlike the former independent-counsel provisions, the

appointment of a regulatory Special Counsel involves action by the Executive Branch (not a court);

a Special Counsel’s jurisdiction is defined by the Attorney General; a Special Counsel’s actions

are supervised by the Attorney General; and the lifespan and scope of the investigation at all times

stay within the Attorney General’s control. No separation-of-powers are concerns implicated

when a principal officer in the Executive Branch appoints an inferior officer over whom he retains

supervisory authority. Accordingly, even assuming that Congress’s letting one law expire would




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somehow restrict an agency’s independent regulatory authority, the lapse of the independent-

counsel statute did not foreclose the Special Counsel regulations.

III.   The Indictment Should Not Be Dismissed Based On A Claim That The Special
       Counsel Regulations And Appointment Order Do Not Authorize This Prosecution

       Concord argues (Doc. 36 at 44-49) that the Appointment Order does not properly authorize

the Special Counsel to prosecute this case. As a threshold matter, Concord has no right to enforce

the Special Counsel regulations or terms of the Appointment Order. And, in any event, the Acting

Attorney General properly assigned to the Special Counsel the responsibility to investigate Russian

interference in the 2016 presidential election, including the matters charged here.

       A.      Concord’s Arguments Do Not Support A Challenge To The Indictment

               1. The regulations and Appointment Order are not judicially enforceable

       Internal rules and orders governing the allocation of responsibilities within the Department

of Justice are not judicially enforceable. Questions about allocation of prosecutorial power are

resolved within DOJ—here, through the Acting Attorney General’s appointment and ongoing

supervision of the Special Counsel. They are not to be adjudicated in criminal cases.

       The Special Counsel regulations “do not create rights that an individual under investigation

may enforce in court.” United States v. Manafort, No. 17-cr-201, 2018 WL 2223656, at *7 (D.D.C.

May 15, 2018) (Manafort DC); see id. at *10-*14; accord Manafort EDVA, No. 18-cr-83, 2018

WL 3126380, at *11-*14. “[T]hose regulations are not substantive rules that create individual

rights,” but rather are “internal rules” that govern “‘agency management or personnel’ and ‘agency

organization, procedure, or practice.’” Manafort DC, 2018 WL 2223656, at *10-*11 (quoting

Office of Special Counsel, 64 Fed. Reg. at 37,041). They are “intended solely to guide the Attorney

General and other Department personnel.” Id. at *11. Internal agency rules, when not required by

the Constitution or a statute, are generally not enforceable in a criminal case. See United States v.



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Caceres, 440 U.S. 741, 749-754 (1979). The Special Counsel regulations are explicit on that point.

28 C.F.R. § 600.10 (“The regulations in this part are not intended to, do not, and may not be relied

upon to create any rights, substantive or procedural, enforceable at law or equity, by any person or

entity, in any matter, civil, criminal, or administrative.”). It follows that the Appointment Order

assigning certain investigative and prosecutorial responsibilities to the Special Counsel under the

regulations also may be not invoked by Concord here.

       The Special Counsel regulations and Appointment Order are on par with other internal

regulations, guidance, and orders that regulate the Department of Justice. The D.C. Circuit, like

other courts of appeals, has held that such internal rules do not confer rights on criminal defendants

and are therefore not enforceable. See In re Grand Jury Subpoena, 438 F.3d 1141, 1152-1153

(D.C. Cir.) (media regulations), cert. denied, 545 U.S. 1150 (2005); United States v. Blackley, 167

F.3d 543, 548-549 (D.C. Cir.) (USAM), cert. denied, 528 U.S. 868 (1999). 9 Accordingly, they

cannot form the basis of a motion to dismiss.

               2. Any violation would not undermine the Special Counsel’s authority or
                  warrant dismissal of the Indictment

       Even if some regulatory error occurred in assigning this area of investigation to the Special

Counsel, it would not support the remedy of dismissing the Indictment. The Special Counsel is

still a DOJ attorney with statutory authority to represent the government. See Manafort EDVA,



       9  See also United States v. Wilson, 413 F.3d 382, 389 (3d Cir. 2005) (Petite policy limiting
dual prosecution); United States v. Lee, 274 F.3d 485, 492-493 (8th Cir.) (death penalty protocol),
cert. denied, 537 U.S. 1000 (2002); United States v. Fernandez, 231 F.3d 1240, 1246 (9th Cir.
2000) (USAM); United States v. Piervinanzi, 23 F.3d 670, 682 (2d Cir.) (policy memorandum
requiring consultation before bringing certain charges), cert. denied, 513 U.S. 904 (1994); In re
Shain, 978 F.2d 850, 853 (4th Cir. 1992) (regulations governing journalist subpoenas); United
States v. Craveiro, 907 F.2d 260, 263-264 (1st Cir.) (required pre-trial notice of intent to seek
sentence enhancement), cert. denied, 498 U.S. 1015 (1990).




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2018 WL 3126380 at *12-*14; see also Manafort DC, 2018 WL 2223656, at *18 n.17 (“any

[regulatory] error defendant alleges in assigning the matter to the Special Counsel does not deprive

this Court of jurisdiction”). Federal criminal proceedings are conducted by “officers of the

Department of Justice, under the direction of the Attorney General.” 28 U.S.C. § 516; see id. §

519. As discussed, the Special Counsel is such an officer. He is a “special assistant to the Attorney

General,” id. § 515(b), and authorized to “conduct any kind of legal proceeding, civil or criminal,

including grand jury proceedings,” id. § 515(a).

       Additionally, any regulatory error here would be harmless. See Bank of Nova Scotia v.

United States, 487 U.S. 250, 254 (1988); Fed. R. Crim. P. 52(a). The Acting Attorney General

reviewed and authorized the Indictment of Concord. See 28 C.F.R. § 600.7(a) (Special Counsel

must comply with DOJ rules, regulations, procedures, and policies); USAM § 1-13.100 (requiring

“Urgent Reports” to Department leadership on “major developments in significant investigations

and litigation”); see also Press Release on Indictment (Feb. 16, 2018), available at

https://www.justice.gov/opa/pr/grand-jury-indicts-thirteen-russian-individuals-and-three-russian-

companies-scheme-interfere (quoting Acting Attorney General).            In light of the ongoing

supervision by the Acting Attorney General—who unquestionably has prosecutorial authority—

any error in assigning the case to the Special Counsel would be harmless.

       B.      The Indictment Falls Within The Special Counsel’s Authority

       Even if Concord’s arguments were justiciable and could support the remedy he seeks, they

fail on the merits because the Special Counsel had authority to obtain the Indictment.

        1. Concord argues (Doc. 36 at 48-49) that because the Indictment does not include

allegations about the Russian government or links to the Trump Campaign, it falls outside of the

authority conferred by the Appointment Order. That claim fails.




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       The Appointment Order authorizes an investigation into “the Russian government’s efforts

to interfere in the 2016 presidential election,” including “any links and/or coordination between

the Russian government and individuals associated with the campaign of President Donald

Trump.” Appointment Order (introduction) & ¶ (b)(i); see Comey Testimony (confirming prior

FBI investigation). An investigation into the Russian government’s efforts to interfere in the 2016

presidential election would inevitably cover organized, Russia-based social-media campaigns

targeting the election to determine how they are funded and controlled—and what connections

they had to the Russian government, if any. Before the appointment of the Special Counsel, the

American government had already identified non-governmental Russian actors that played a role

in Russia’s election-interference efforts. The unclassified January 2016 Intelligence Community

Assessment (“ICA”) described Russia’s “[m]ultifaceted” campaign that included “third-party

intermediaries[] and paid social media users or ‘trolls.’” Assessing Russian Activities

and Intentions    in   Recent     US    Elections     at   2   (Jan.   6,   2017),    available    at

https://www.dni.gov/files/documents/ICA_2017_01.pdf. The ICA explained that “a network of

quasi-government trolls * * * serve[ed] as a platform for Kremlin messaging,” id. at 3, and

specifically referred to “the so-called Internet Research Agency of professional trolls located in

Saint Petersburg,” its prior role “supporting Russian actions in Ukraine,” and its “likely financier,”

who “is a close Putin ally with ties to Russian intelligence,” id. at 4; see also p.8 & n.3, supra

(describing sanctions imposed on Prigozhin and Concord for supporting Russian government

activities in Ukraine). Concord’s activities fall squarely within this investigatory focus.

       The Appointment Order does not limit the Special Counsel to indicting individuals and

entities that are part of or tied to the Russian government. Because investigation of the social-

media attack was authorized, so was prosecution. The Appointment Order defined the Special




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Counsel’s prosecutorial authority separately from his investigatory authority. “If the Special

Counsel believes it is necessary and appropriate,” the Order provided, “the Special Counsel is

authorized to prosecute federal crimes arising from the investigation of these matters.”

Appointment Order ¶ (c). Concord’s argument “misunderstands the structure of the May 17

Appointment Order and the difference between the Special Counsel’s investigative and

prosecutorial authority.”    Manafort EDVA, 2018 WL 3126380 at *8.              Having permissibly

investigated Concord’s conduct, the Special Counsel was “authorized to prosecute federal crimes

that arise out of his authorized investigation.” Id.; see Manafort DC, 2018 WL 2223656, at *10.

         2. Concord additionally argues (Doc. 36 at 45-47), that under 28 C.F.R. § 600.1, the Acting

Attorney General could not appoint a Special Counsel to prosecute Concord. That contention lacks

merit.

         a. Concord contends that the appointment violates Section 600.1 because then-Director

Comey’s March 2017 testimony “confirmed the existence only of a counter-intelligence

investigation,” while Section 600.1 addresses appointing a Special Counsel when a criminal

investigation is warranted. Doc. 36 at 45 (Concord’s emphasis). But the appointment clearly

encompassed an ongoing criminal investigation. When Comey publically confirmed to the House

Permanent Select Committee on Intelligence that the FBI was investigating Russian interference

into the 2016 presidential election “as part of [its] counterintelligence mission,” he made clear that

“[a]s with any counterintelligence investigation, this will also include an assessment of whether

any crimes were committed.” Comey Testimony. And the Acting Attorney General plainly

determined that a criminal investigation was warranted when the Appointment Order stated that

“the Special Counsel is authorized to prosecute federal crimes arising from the investigation of

these matters.” Appointment Order ¶ (c).




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       b. Concord next urges (Doc. 36 at 45-46) that under Section 600.1, the Special Counsel

could not have been assigned to investigate or prosecute Concord because there was no “need for

a criminal investigation into Concord” or “conflict of interest or extraordinary circumstance

* * * supporting a criminal investigation into Concord.” Id. That claim is unfounded.

       Section 600.1’s “[g]rounds for appointing a Special Counsel” are not defendant-specific.

Rather, the Acting Attorney General “will appoint a Special Counsel when he or she determines

that criminal investigation of a person or matter is warranted,” when “investigation or prosecution

of that person or matter * * * would present a conflict of interest for the Department or other

extraordinary circumstances,” and where “it would be in the public interest to appoint an outside

Special Counsel to assume responsibility for the matter.” 28 C.F.R. § 600.1 (emphases added).

Here, the core “matter” to be investigated was Russian interference in the election, including links

and/or coordination to individuals associated with the Trump Campaign. See Appointment Order

(introduction); id. ¶ (b). And “[c]onsidering the unique circumstances of this matter,” the Acting

Attorney General determined that “a Special Counsel is necessary in order for the American people

to have full confidence in the outcome.” Press Release, Appointment of Special Counsel (May 17,

2017), available at https://www.justice.gov/opa/pr/appointment-special-counsel.

       c. Concord briefly suggests (Doc. 36 at 46-47) that under Section 600.4, the Acting

Attorney General could not authorize the Special Counsel to investigate “any matters that arose or

may arise directly from the investigation,” Appointment Order ¶ (b)(ii). That is the same argument

that the district court rejected in the Manafort prosecution in this District. See Manafort DC, 2018

WL 2223656, at *14-*17; see also Manafort EDVA, 2018 WL 3126380 at *9-*11 (rejecting a

challenge to ¶ (b)(ii) by relying on the Acting Attorney General’s application of the procedures of

28 C.F.R. § 600.4(b) to that provision). Paragraph (b)(ii) is not as “expansive” as Concord claims




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(Doc. 36 at 46) but rather affords the Special Counsel limited flexibility, while preserving the

Acting Attorney General’s authority to clarify the Special Counsel’s jurisdiction during regular

consultation (see 28 C.F.R. §§ 600.6, 600.8(b)), or to add additional jurisdiction where “necessary

in order to fully investigate and resolve the matters assigned,” id. § 600.4(b).

       But in any event, the government’s investigation of Concord does not depend on any kind

of “expansive” or open-ended authority. Rather, as discussed, investigating organized social-

media active measures that were emanating from Russia and funded by an individual and

companies with close ties to the Russian government was part of the central investigative mission

specifically assigned by the Acting Attorney General.

                                         CONCLUSION

       For the reasons stated above, the government requests the Court, the government

respectfully requests that the Court deny Concord’s motion to dismiss (Doc. 36).



                                                      Respectfully submitted,

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